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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

JAMES BRUNSON AND BRUNSON              )
PACKAGE, INC., AN ILLINOIS             )
CORPORATION                            )
                                       )
                     Plaintiffs        )
                                       )
               Vs.                     )                   No. 12-225 JPG/PMF
                                       )
MAX SCHAUF, INDIVIDUALLY AND           )
IN HIS CAPACITY AS MAYOR OF            )
BRIDGEPORT, ILLINOIS; SCOTT MURRAY     )
INDIVIDUALLY AND IN HIS CAPACITY AS    )
CHIEF OF POLICE FOR BRIDGEPORT; MIKE   )
MEFFORD, INDIVIDUALLY AND IN HIS       )
CAPACITY AS CHIEF OF POLICE AND FIRE   )
FOR LAWRENCEVILLE, ILLINOIS; LISA WADE )
INDIVIDUALLY AND IN HER CAPACITY AS    )
STATE’S ATTORNEY FOR LAWRENCE COUNTY)
MARK SCHAUF; JASON COOPER, JODY        )
HARSHMAN; CITY OF BRIDGEPORT, CITY     )
OF LAWRENCEVILLE; AND COUNTY OF        )
LAWRENCE,                              )
                                       )
                     Defendants.       )

                 ENTRY OF APPEARANCE AND JURY DEMAND

       NOW Comes Attorney Joseph A. Bleyer of the Law Firm of Bleyer and Bleyer

and enters his appearance as counsel of record for the County of Lawrence and demands

Trial by Jury.




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                                        BLEYER and BLEYER


                                        S/Joseph A. Bleyer
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                                    CERTIFICATE OF SERVICE
       I hereby certify that on July 8, 2012, I electronically filed an Entry of Appearance on

behalf of the Defendant, County of Lawrence, with the Clerk of the Court using CM/ECF

System which will send notifications of such filing to the following:

               Richard S. Fedder
               144 Pineview Road
               Carbondale, IL 62901
               rfddr@yahoo.com

       I hereby certify that on July 8, 2012, I mailed by United States Postal Service, the

documents to the following nonregistered participants:

                      None

                                                                     S/JOSEPH A. BLEYER




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